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                   IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                             CENTRAL DIVISION

JERRY MCKEE                                                                    PLAINTIFF
ADC #174370

V.                               CASE NO. 4:20-cv-01302 JM

ARKANSAS SUPREME COURT, et al.                                               DEFENDANT

                                       JUDGMENT

       Pursuant to the order filed this date, judgment is entered dismissing this case without

prejudice; the relief sought is denied. This dismissal counts as a “strike” and the Court

certifies that an in forma pauperis appeal is considered frivolous and not in good faith.

       IT IS SO ORDERED this 25th day of January, 2021.



                                           __________________________________
                                            UNITED STATES DISTRICT JUDGE
